                 IN THE UNITED STATES DISTRICT COURT
                FOR THE WESTERN DISTRICT OF MISSOURI
                           WESTERN DIVISION


NOE GARCIA,                                  )
                                             )
             Movant,                         )
                                             )
vs.                                          ) Civil No. 10-1274-CV-W-FJG
                                             ) Crim. No. 08-00311-02-CR-W-FJG
                                             )
UNITED STATES OF AMERICA,                    )
                                             )
             Respondent.                     )

                                        ORDER

      Currently pending before the Court is the Government’s Sur-Response to the

Court’s September 18, 2012 Order (Doc. # 36).

      On July 24, 2012, the Court entered an Order granting in part and denying in part

Movant’s Motion to Vacate, Set Aside or Correct His Sentence (Doc. # 26). In the

Order, the Court requested that the Government file a response addressing whether

there was any reason the defendant should not be resentenced to a term of 120

months. On August 13, 2012, the Government filed its response, stating its agreement

that the Defendant should be re-sentenced and that a sentence in the range of 120

months to 135 months would be appropriate. On August 20, 2012, the Court requested

the parties indicate whether a sentencing hearing would be necessary. Counsel for

petitioner responded that he would waive the hearing. The Government filed a

response stating that based on the Court’s August 20, 2012 Order, “the Government

does not believe the court has jurisdiction to sentence Noe Garcia at this time.”

(Government’s Response, p.1). The Government also requested a hearing on this



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matter. On September 18, 2012, the Court requested that the Government file a more

complete response, explaining in greater detail the Government’s reasoning as to why

the Court did not have jurisdiction to re-sentence Mr. Garcia.

       The Government filed a response on September 28, 2012, stating that the Court

did not have jurisdiction, because the Court had not yet issued a final order. The July

24, 2012 Order stated“[t]he Court will issue a final decision on [the issue of drug

quantity] after reviewing the Government’s response.” (Doc. # 26, p. 10).

       In the July 24, 2012 Order, Mr. Garcia argued that his counsel was ineffective for

failing to object to his 135 month sentence because he should only have been

sentenced to the least charged amount. The Government argued that Garcia was

sentenced to a term that was contemplated by the plea agreement and the amount

calculated by the PSR which held “Garcia responsible for the four undercover sales and

nothing further.” (Government’s Suggestions in Opposition, pp. 10-11). However, in

calculating the marijuana equivalency amounts, the Court discovered that the

equivalency was only 1,423.64 kilograms, not 5,022.80 kilograms, as stated in the

Presentence Investigation Report and in the Government’s opposition. The Court noted

that when the lower amount was used, Mr. Garcia’s base offense level dropped to a 32,

rather than a 34. If he were given the same benefit of a three level reduction, this lead

to an offense level of 29, which when combined with his Level III criminal history

category, produced a guideline range of 108-135 months. The Court noted that Mr.

Garcia was subject to a ten year statutory minimum, so the least amount of time he

could have been sentenced to would have been 120 months.

       On August 13, 2012, the Government filed a response indicating its agreement

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with the Court that based on information adduced at the plea and sentencing hearings,

the defendant should be re-sentenced and a sentence in the range of 120 to 135

months would be appropriate.

       Therefore, based upon the Court’s previous discussion of the drug quantity issue

and the Government’s agreement on this point, the Court hereby concludes that Mr.

Garcia’s counsel was ineffective in not objecting to his sentence. The Government

states that “this case is unusual in that both parties, as well as the United States

Probation Office, erred in the drug quantity calculations utilized in the PSR. . . . The

Government would not dispute that defense counsel had a duty to check the

calculations in the PSR and file appropriate objections.” (Government’s Response, p. 8).

The Court also finds that if counsel had objected to the drug equivalency calculations,

there is a reasonable probability that the result would have been different. As discussed

above, taking into account the previous three level reduction which the Court found

defendant entitled to, Mr. Garcia could have received a sentence that was 15 months

lower than the sentence that he actually received. Thus, the Court finds that Mr. Garcia

has satisfied both prongs of the ineffective assistance of counsel test. The Court

therefore GRANTS that portion of Mr. Garcia’s 28 U.S.C. § 2255 motion which alleges

that his counsel was ineffective for failing to object to his sentence based on the drug

quantity attributed to him.

       As previously stated in the Court’s July 24, 2012 Order, the Court hereby

DENIES: 1) Mr. Garcia’s claims that his counsel was ineffective for failing to explain the

true nature of the plea agreement offered by the Government; 2) Mr. Garcia’s claim that



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his counsel was ineffective for failing to object to the use of one of his prior convictions

in his criminal history calculation; and 3) Mr. Garcia’s request to re-open his case in light

of the new affidavit from his brother.

        Accordingly, for the reasons stated above, the Court hereby GRANTS in part

and DENIES in part, petitioner’s Motion to Vacate, Set Aside or Correct Sentence (Doc.

# 1).

         Furthermore, movant will be denied a certificate of appealability. Under 28

U.S.C. § 2253(c)(2), “[a] certificate of appealability may issue under paragraph (1) only

if the applicant has made a substantial showing of the denial of a constitutional right.”

The Court finds that the issues raised by movant do not meet this criteria.

        As Mr. Garcia prematurely filed a Notice of Appeal on August 20, 2012, the Court

hereby directs the Clerk of the Court to transfer this Notice of Appeal to the Eighth

Circuit for its consideration in light of this Order.

        The Government requests that the Court delay the re-sentencing hearing until all

appellate matters have been resolved. The Court agrees and finds that in order to

avoid any unnecessary confusion, the re-sentencing will proceed after the Eighth Circuit

has ruled on Mr. Garcia’s appeal.



Date: October 9, 2012                               S/ FERNANDO J. GAITAN, JR.
Kansas City, Missouri                               Fernando J. Gaitan, Jr.
                                                    Chief United States District Judge




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